      Case 2:21-cv-01091-JAD-VCF Document 42 Filed 06/09/23 Page 1 of 2




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13                               UNITIED STATES DISTRICT COURT
14                                       DISTRICT OF NEVADA
15

16 RANDY BENSON, an individual,                        Case No.    2:21-cv-01091-JAD-VCF
17
                           Plaintiff,                  STIPULATION AND ORDER TO
18                                                     CONTINUE STAY OF CASE UNTIL
     v.                                                JUNE 26, 2023 TO CONTINUE
19                                                     SETTLEMENT DISCUSSIONS
   HARBOR FREIGHT TOOLS USA, INC., a
20 Foreign Corporation; et al.,                        (First Request)
                                                                            ECF No. 41
21
                           Defendants.
22          IT IS HEREBY STIPULATED AND AGREED by Plaintiff Randy Benson (“Plaintiff”) and
23 Defendant Harbor Freight Tools USA, Inc. (“HFT”) by and through their respective counsel, to

24 continue the stay of litigation until June 26, 2023 pending the outcome of the continued settlement

25 discussions:

26          On March 23, 2023 the Court granted the parties Joint Motion to Stay Litigation Pending
27 Outcome of Mediation [ECF 40] until the conclusion of the June 5, 2023 private mediation before

28 Hon. Jennifer Togliatti (ret.).
     Case 2:21-cv-01091-JAD-VCF Document 42 Filed 06/09/23 Page 2 of 2




 1          Although the parties did not reach a full settlement during the in-person June 5, 2023

 2 mediation date, the parties have held the mediation open until June 26, 2023. The parties believe

 3 that settlement is possible and are continuing settlement negotiations with Judge Togliatti.

 4          Wherefore, the parties respectfully request that the Court continue the stay this action until

 5 June 26, 2023, including all discovery deadlines, all pending motions, and other deadlines, pending

 6 completion of settlement discussions. Per the Court’s approval, the parties will file a joint status

 7 report fourteen (14) days following the stay to advise whether the case has settled or whether new

 8 deadlines should be issued.

 9          Good cause exists to grant this extension. The parties have been engaged in settlement

10 discussions and are confident of a potential resolution through continued talks. The parties would

11 like to conserve all possible litigation and discovery costs in order to focus on reaching a resolution.

12 Accordingly, the parties request the litigation stay be continued to complete settlement discussions.

13 The parties agree to file a joint status report by no later than July 10, 2023, advising the Court as to

14 whether a settlement has been reached or if the litigation needs to continue.

15 Dated: June 7, 2023

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17
   /s/ Scott Flinders                                  /s/ Dylan Todd
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24                                                    Harbor Freight Tools USA, Inc.

25
                                                   ORDER
26
            IT IS SO ORDERED.
27
                                                                           6/9/23
28
                                                   UNITED STATES DISTRICT COURT JUDGE
                                                       2
